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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



 COLUMBIA ALUMINUM PRODUCTS, LLC,

                         Plaintiff,

                 and

 ENDURA PRODUCTS, INC.,

                         Consolidated Plaintiff,              Before: Hon. Timothy C. Stanceu,
                                                                      Senior Judge
                 v.
                                                              Consol. Court No. 19-00185
 UNITED STATES,

                         Defendant,
                                                    Before
                 and

 ENDURA PRODUCTS, INC.,

                         Defendant-Intervenor,

                 and

 COLUMBIA ALUMINUM PRODUCTS, LLC,

                         Consolidated Defendant-
                         Intervenor.


                                             ORDER

       Upon consideration of the Motion to Withdraw Endura Products, Inc. (“Endura”) as

Defendant-Intervenor in this action, it is hereby

       ORDERED that Endura’s motion is granted; and it is further

       ORDERED that Endura’s position as Defendant-Intervenor is terminated.



Dated: March 14, 2023                                           /s/ Timothy C. Stanceu___
       New York, New York                                      Hon. Timothy C. Stanceu, Judge
